                                     UNITED STATES DISTRICT COURT

                                   SOUTHERN DISTRICT OF NEW YORK

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JANE DOE,                                                                :   Civil Action No. 23-cv-10628 (JGLC)
                                                                         :
                                         Plaintiff,                      :   NOTICE OF MOTION
                                                                         :
                          v.                                             :
                                                                         :
SEAN COMBS; HARVE PIERRE; THE THIRD                                      :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                           :
HOLDINGS, INC.,                                                          :
                                                                         :
                                         Defendants.                     :
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          PLEASE TAKE NOTICE that upon this Notice of Motion, dated as of May 10, 2024,

and the accompanying Declaration of Jonathan D. Davis, dated May 10, 2024, with exhibits, and

the supporting memorandum of law, dated May 10, 2024, and upon all prior proceedings had

herein, Defendants Sean Combs, Daddy’s House Recordings, Inc., and Bad Boy Entertainment

Holdings, Inc., by their attorneys, will move this Court, pursuant to Fed. R. Civ. P. 12(b)(6), before

the Honorable Jessica G. L. Clarke, at the United States District Courthouse, Courtroom 20C, 500

Pearl Street, New York, New York 10007, for an order dismissing Plaintiff’s Amended Complaint

[Dkt. No. 52] with prejudice.




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       Answering declarations and memoranda of law, if any, shall be filed on or before Friday,

June 7, 2024, and any reply declarations and memoranda of law shall be filed on or before Friday,

June 21, 2024, unless otherwise extended by the Court.

Dated: May 10, 2024
       New York, New York

                                                    JONATHAN D. DAVIS, P.C.



                                              By: /s/ Jonathan D. Davis
                                                  Jonathan D. Davis
                                                  Anthony C. LoMonaco
                                                  1 Rockefeller Plaza
                                                  Suite 1712
                                                  New York, New York 10020
                                                  (212) 687-5464

                                                    Attorneys for Defendants
                                                    Sean Combs, Daddy’s House
                                                    Recordings, Inc., and Bad
                                                    Boy Entertainment Holdings, Inc.




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